  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 1 of 11 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                 Case No:
                                    §
vs.                                 §                 PATENT CASE
                                    §
CENTURYLINK, INC.                   §
                                    §
      Defendant.                    §
___________________________________ §

                                           COMPLAINT

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “RBDS”) files

this Complaint against CenturyLink, Inc. (“Defendant” or “CenturyLink”) for infringement of

United States Patent No. 8,856,221 (hereinafter “the ‘221 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with an office at 1400 Preston Road,

Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant is a Louisiana corporation, with its

principal place of business at 100 Centurylink Drive, Monroe, LA 71203-2041.

       5.      On information and belief, this Court has personal jurisdiction over Defendant




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                            PAGE | 1
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 2 of 11 PageID #: 2




because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       Venue is proper in this District pursuant to 28 U.S.C. § 1400(b) because acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District. For example, Defendant has a regular and established place of business

at 6801 Gaylord Pkwy #300, Frisco, TX 75034. On information and belief, Defendant has other

regular and established places of business in this District.

                                  COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO 8,856,221)

        8.       Plaintiff incorporates paragraphs 1-7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘221 Patent with sole rights to enforce

the ‘221 Patent and sue infringers.

        11.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast

Content in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.

        12.      The ‘221 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.      Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing,



PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                              PAGE | 2
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 3 of 11 PageID #: 3




selling, and/or offering for media content storage and delivery systems and services covered by

one or more claims of the ‘221 Patent.

       14.     Defendant sells, offers to sell, and/or uses media content storage and delivery

systems and services, including, without limitation, the CenturyLink Smart Home system, and

any similar products (“Product”), which infringes at least Claim 1 of the ‘221 Patent.

       15.     The Product is a system for media content storage and delivery (e.g. videos

captured from security cameras can be stored and delivered to a smartphone or other device).

The Product necessarily includes at least one server for hosting and storing media content for

customers. For example, the Product necessarily includes at least one server to store recorded

security videos. Certain aspects of these elements are illustrated in the screen shots below and/or

in screen shots provided in connection with other allegations herein.




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                             PAGE | 3
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 4 of 11 PageID #: 4




       16.     The at least one server necessarily includes a first receiver configured to receive

a request message including data indicating requested media content (e.g., the server must have

infrastructure to receive a request to store recorded security videos or to stream recorded video

on a smartphone; additionally, the request message must contain data that identifies the video to

be stored or streamed) and a consumer device identifier corresponding to a consumer device

(e.g., the user credentials are used to associate a smartphone and user account to particular

cameras and the videos they produce). Certain aspects of these elements are illustrated in the



PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                            PAGE | 4
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 5 of 11 PageID #: 5




screen shot below and/or in screen shots provided in connection with other allegations herein.




       17.     The Product necessarily includes a first processor in communication with the first

receiver, the first processor configured to determine whether the consumer device identifier

corresponds to the registered consumer device (e.g., the server must authenticate a user’s account

credentials and ensure that those credentials match those registered with a security camera which

a user would like to access).

       18.     The Product provides for both media downloads and/or storage, and media

streaming. A processor within the Product necessarily determines if a consumer device identifier




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                            PAGE | 5
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 6 of 11 PageID #: 6




corresponds to the registered consumer device (e.g., the processor determines if a smartphone is

registered to be associated with particular security cameras based upon a user’s login

credentials). Upon confirming registration, the processor is further configured to determine

whether the request message is one of a storage request message and a content request message

(e.g., the processor differentiate a user’s request to store videos from a user’s request to stream

live content from the security camera).

        19.     The server verifies that media content (e.g., specific recording from a specific

camera) identified in the media data of the storage request message (e.g., request to record

content to the cloud) is available for storage in order to prevent data errors that would result from

attempting to store content that is not available for storage (e.g., the server must verify that a

particular security camera is adequately connected to the Internet as to allow for video recording

and storage on the cloud; additionally, a user’s ability to store video is limited to a certain amount

of memory usage based upon their subscription; thus media content may not be available for

storage if a user is already above their memory limit). Certain aspects of these elements are

illustrated in the screen shot below and/or in screen shots provided in connection with other

allegations herein.




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                                PAGE | 6
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 7 of 11 PageID #: 7




       20.     If a customer requests content (e.g., live streaming of media content), then a

processor within the Product necessarily initiates delivery of the content to the customer’s

device. The server will initiate delivery of the requested media content to the consumer device

(e.g., stream live camera feed to a smartphone or tablet) if the request message is a content

request message (e.g., request for live streaming).

       21.     The media data includes time data that indicates a length of time to store the

requested media content (e.g., a user is allowed to store videos for maximum of 30 days and the

number of camera’s as based upon their subscription level (e.g., additional camera’s in Platinum

subscription level)).

       22.     The server must first determine whether the requested media content exists prior

to initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g. the server must verify that a particular security camera is




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                              PAGE | 7
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 8 of 11 PageID #: 8




adequately connected to the internet as to allow for video recording and streaming).      23.

       After the processor determines whether the requested media content is available, it

determines whether there are restrictions associated with the requested media content (e.g.,

subscription level, component protocols, number of cameras included in the subscription, etc.).

       24      Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       25.     Defendant’s actions complained of herein is causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       26.     Plaintiff is in compliance with 35 U.S.C. § 287.




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                          PAGE | 8
  Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 9 of 11 PageID #: 9




                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receives notice

of the order from further infringement of United States Patent No. 8,856,221 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                                                PAGE | 9
Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 10 of 11 PageID #: 10




Dated: August 2, 2018                 Respectfully submitted,


                                      /s/ Jay Johnson
                                      JAY JOHNSON
                                      State Bar No. 24067322
                                      D. BRADLEY KIZZIA
                                      State Bar No. 11547550
                                      KIZZIA JOHNSON, PLLC
                                      1910 Pacific Ave., Suite 13000
                                      Dallas, Texas 75201
                                      (214) 451-0164
                                      Fax: (214) 451-0165
                                      jay@kpllc.com
                                      bkizzia@kpllc.com


                                      ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                        PAGE | 10
Case 2:18-cv-00333-RWS Document 1 Filed 08/02/18 Page 11 of 11 PageID #: 11




                                 EXHIBIT A




PLAINTIFF’S COMPLAINT AGAINST CENTURYLINK, INC.                     PAGE | 11
